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|
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, | Southern Division
Plaintiff, |
vs. | Case #: 8:22-MJ-00718 Complaint & Warrant
| Initial App. Date: 11/14/2022 “Custody
Varun Aggarwal | Time: 2:00 PM
Defendant. | Date Filed: 11/14/2022

 

CourtSmart/Reporter: CS 11/14/2022

PROCEEDINGS HELD BEFORE UNITED STATES
MAGISTRATE JUDGE: Karen E. Scott

CALENDAR/PROCEEDINGS SHEET

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|
| Violation: 18;1341, 18:1343
|
|
|
|
| LOCAL/OUT-OF-DISTRICT CASE

1

PRESENT: Jazmin Dorado Brett Sagel / None

Deputy Clerk Assistant U.S. Attorney Interpreter/Language

@ Court issues Order under Fed. R. Crim. P. 5(f) concerning prosecutor's disclosure obligations; see
General Order 21-02 (written order).

Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right
to bail; bail review and @ preliminary hearing

Attorney: Michael Schachter and MADFPD

Government's request for detention is: WITHDRAWN.
BAIL FIXED AT $100,000 (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS.)

Preliminary Hearing set for 12/5/2022 at 2:00 pm in Courtroom 6A

Ss

@ PIA set for 12/12/2022 at 10:00 AM in Santa Ana, Courtroom 6A.
Defendant committed to the custody of the U.S. Marshal
RELEASE ORDER NO: 41860

Other: Court privisionally appoints Michael Schachter, DFPD, as counsel for defendant for two weeks.

The appointment is subject to possible later contribution. Defendant shall retain counsel prior to next
court appearance.

PSA, FINANCIAL, CR-10, READY

Deputy Clerk Initials: J
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M-5 (10/13) CALENDAR/PROCEEDING SHEET - LOCAL/OUT-OF-DISTRICT CASE Page lofi
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UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

Case Name: United States of America v. Varun Aggarwal Case No. 8:22-mj-718
[m] Defendant [_] Material Witness

 

 

Violation of Title and Section: 18:1341; 18:1343
[-]Summons [| Out of District [-] UNDERSEAL [_] Modified Date:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check only one of the five numbered boxes below (unless one bond is to be replaced by another):
1. |_| Personal Recognizance (Signature Only) (c). X] Affidavit of Surety With Justification Release No.
2. [| Unsecured Appearance Bond franemiesteay Sterne bye 4 §G0
$ apeieralan [_] Release to Pretrial ONLY
3. Appearance Bond [ ] Release to Probation ONLY
$ 100,000 (total) [mi] Forthwith Release
(a). Cash Deposit (Amount or %) (Form CR-7) With Full Deeding of Property:
pe for $50,000
(b). [X] Affidavit of Surety Without _—
= (Form CR-4) Signed by: (Defendant may deed additional [mi] All Conditions of Bond
responsible third party for $25,000 amount to replace affidavit of surety Soca Clearing- Warrants
Condition) Must be Met
and/or cash deposit.) and Posted by:
11/28/2022
|] Third-Party Custody
4, [-] Collateral Bond in the Amount of (Cash Affidavit (Form CR-31)
or Negotiable Securities):
$ [m] Bail Fixed by Court:
5 | Corporate Surety Bond in the Amount of: / JD
$ (Judge / Clerk's Initials)

 

 

 

 

 

 

 

PRECONDITIONS TO RELEASE
L] The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).

[_] The Court has ordered a Nebbia hearing under § 3142 (g)(4).
[_]| The Nebbia hearing is set for at Chea C4 p.m.

 

ADDITIONAL CONDITIONS OF RELEASE

In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:

Submit to: Pretrial Services Agency (PSA) supervision as directed by PSA; Probation (USPO) supervision as directed by USPO.
gency P 'y P i
(The agency indicated above, PSA or USPO, will be referred to below as “Supervising Agency.”)

(m| Surrender all passports and travel documents to Supervising Agency no later than November 15, 2022 , sign a Declaration

 

re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency
of this case.

[m] Travel is restricted to Central District of CA unless prior permission is granted by Supervising
Agency to travel to a specific other location. Court permission is required for international travel.

[m] Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.

[m] Maintain or actively seek employment and provide proof to Supervising Agency. [m] Employment to be approved by Supervising Agency.

[_] Maintain or begin an educational program and provide proof to Supervising Agency.

Defendant's Initials: V A Date: j} / 14 [ WLL
CR-1 (06/22) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM 7 PAGE L-OFS

 
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{m] Defendant [_] Material Witness

 

 

{m] Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
witness in the subject investigation or prosecution, |_| including but not limited to

;[_] except
[_] Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

 

 

 

of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

 

[_] Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. [_] In order to determine compliance,
you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
own legal or true name without prior permission from Supervising Agency. [_] In order to determine compliance, you agree
to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not engage in telemarketing.

[m] Do not sell, transfer, or give away any asset valued at $ 5,000 or more without notifying and obtaining

 

permission from the Court, except

 

[_] Do not engage in tax preparation for others.

[_] Do not use alcohol.

["] Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
Supervising Agency.

[_] Do not use or possess illegal drugs or state-authorized marijuana. [_] In order to determine compliance, you agree to
submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
prescribed by a medical doctor.

[| Submit to: [_]drug and/or [_]alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.

[_] Participate in residential [_] drug and/or [_] alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
of treatment based upon your ability to pay as determined by Supervising Agency. [ |Release to PSA only [_] Release to USPO only

[m] Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.

[_] Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability

to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

Location Monitoring Technology

[_] Location Monitoring technology at the discretion of the Supervising Agency

or

Defendant's Initials: |/ Date: // 7 Lu / LO?

 

 

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{m| Defendant [ ] Material Witness

 

 

|] Location Monitoring with a bracelet
[_] at the discretion of the Supervising Agency or
[_] Radio Frequency (RF) or
[_] Global Positioning System (GPS)

[_] Release to the Supervising Agency only or _[__| Placement of bracelet within 24 hours of release
or
[_] Location Monitoring without a bracelet

at the discretion of the Supervising Agency or
P 8 Agency
[| Virtual/Biometric or

[_] Voice Recognition

Restrictions
[_] Location Monitoring only - no residential restrictions

[_] Curfew - You are restricted to your residence every day:
[_] from to
[_] as directed by Supervising Agency

 

[_] Home Detention - You are restricted to your residence at all times except for employment, education, religious services, medical

needs or treatment, attorney visits, court appearances and obligations, essential needs, and i

 

all of which must be preapproved by the Supervising Agency
[_] Home Incarceration - You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court

appearances and obligations, and , all of which must be preapproved by the Supervising Agency

 

[_] You are placed in the third-party custody (Form CR-31) of

 

[_] Clear outstanding [_] warrants or[_] DMV and traffic violations and provide proof to Supervising Agency within ___ days
of release from custody.

[| Do not possess or have access to, in the home, the workplace, or any other location, any device that offers internet access except
as approved by Supervising Agency. [_] In order to determine compliance, you agree to submit to a search of your person
and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
the age of 18 except in the presence of a parent or legal guardian of the minor.

[| Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
under the age of 18.

[_] Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare

facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.

Defendant's Initials: (“4 Date: /] / }y / 273)
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{m] Defendant [ ] Material Witness

[_] Do not view or possess child pornography or child erotica. [| In order to determine compliance, you agree to submit to a search
of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
Marshal.

{m] Other conditions:

Defendant to advise employer of the existence of the case within 30 days.

 

 

 

 

 

 

 

 

 

 

 

GENERAL CONDITIONS OF RELEASE

I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
United States District Court to which I may be removed or to which the case may be transferred.

I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
direction in connection with such judgment as the Court may prescribe.

I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
so that I may be reached at all times.

I will not commit a federal, state, or local crime during the period of release.
I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be

subject to further prosecution under the applicable statutes.

I will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a.

Defendant's Initials: VA Date: | i/) ufr ai.

 

 

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[m] Defendant [_] Material Witness

ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
continue in full force and effect until such time as duly exonerated.

I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
fine.

I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
forfeited.

is/ie [2 MeO (444) 462-6447

Date Signature of Defendant / Material Witness Telephone Number

Sante Aa a, ¢ A
City and State (DO NOT INCLUDE ZIP CODE)

 

|] Check if interpreter is used: I have interpreted into the language this entire form
and have been told by the defendant that he or she understands all of it.

 

 

 

Interpreter’s Signature Date

Approved:

 

 

United States District Judge / Magistrate Judge Date

If cash deposited: Receipt # SAOIBISY for $ LG 000 £¢

 

(This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)

 

Defendant's Initials: — |/ /4 Date: } | fi uy / LE ULE

 

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